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           IN THE UNITED STATES DISTRICT COURT FOR THE
          NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


MARC GILES,                          )
                                     )
Plaintiff,                           )
                                     )      Case No. 21 cv 4798
                   -vs-              )
                                     )
CITY OF CHICAGO, Former              )
CHICAGO POLICE SERGEANT              )
RONALD WATTS, Former OFFICER )
KALLATT MOHAMMED,                    )
SERGEANT ALVIN JONES,                )
OFFICER BRIAN BOLTON,                )
OFFICER KENNETH YOUNG,               )
OFFICER DARRYL EDWARDS,              )
OFFICER MATTHEW CADMAN,              )
OFFICER MICHAEL SPAARGAREN, )
OFFICER GEROME SUMMERS,              )
OFFICER CALVIN RIDGELL,              )
TERRY HILLARD, DEBRA KIRBY,          )
KAREN ROWAN, and any other yet-      )
unidentified officers of the Chicago )
Police Department,                   )
                                     )
                                     )
                                     )
                                     )      JURY TRIAL DEMANDED
                                     )
                                     )
                                     )
                      Defendants.    )

                                  COMPLAINT

      Plaintiff Marc Giles, by his attorneys, Loevy & Loevy, hereby complains

against Defendants, City of Chicago, former Chicago Police Sergeant Ronald Watts,

former Chicago Police Officer Kallatt Mohammed, Sergeant Alvin Jones, Officer
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Brian Bolton, Officer Kenneth Young, Officer Darrel Edwards, Officer Matthew

Cadman, Officer Michael Spaargaren, Officer George Summers, Officer Calvin

Ridgell, Terry Hillard, , Debra Kirby, Karen Rowan, and other as-yet-unidentified

officers of the Chicago Police Department, and states as follows:

                                    Introduction

      1.     Since January 2016, the Circuit Court of Cook County, Illinois has

overturned 110 wrongful convictions tied to Sgt. Ronald Watts and his corrupt team

of officers in what Illinois courts have called one of the most staggering cases of

police corruption in the history of Chicago. Marc Giles’s wrongful conviction is one

of the most recent to be overturned.

      2.     Mr. Giles was convicted of and incarcerated for a crime he did not

commit.

      3.     The crime never happened; it was completely fabricated by corrupt

Chicago police officers.

      4.     Mr. Giles was arrested on January 4, 2003.

      5.     Mr. Giles’ arrest occurred at the Ida B. Wells housing complex, a

location that was heavily policed by corrupt Chicago police officers.

      6.     The corrupt officers sought bribes, planted drugs, and falsely accused

many people, including Mr. Giles, of possessing drugs.

      7.     The type of encounter these police officers had with Mr. Giles was

unfortunately quite common, and the consequences were dire: false arrest, criminal

proceeding, incarceration, and a subsequent felony record.

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      8.     Believing that he faced no chance of winning at trial following his

January 4, 2003, arrest, Mr. Giles pled guilty.

      9.     Defendants Watts and Mohammed were later caught on tape engaging

in the exact type of misconduct that Mr. Giles had alleged against them.

      10.    The federal government charged Watts and Mohammed criminally,

and the disgraced officers pled guilty and served time in federal prison.

      11.    Since then, evidence has come to light showing that Defendant Watts

and his crew engaged in a pattern of criminal misconduct against public housing

residents and visitors and that Chicago Police Department officials have long

known about that pattern.

      12.    The scope of this misconduct cannot be overstated.

      13.    For example, the Chief Justice of Illinois’ Court of Claims has written

that “many individuals were wrongfully convicted as a result of one of the most

staggering cases of police corruption in the history of the City of Chicago,”

explaining that “Watts and his team of police officers ran what can only be

described as a criminal enterprise right out of the movie ‘Training Day.’”

      14.    The Court of Claims Chief Justice explained that “[o]n many occasions

when these residents [of public housing] refused to pay the extortive demands the

Watts crew would fabricate drug charges against them.”

      15.    The Illinois Appellate Court, too, has weighed in on the scope of the

scandal, repeatedly calling Watts and his team “corrupt police officers” and



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“criminals” and chastising the City’s police disciplinary oversight body for doing

“nothing to slow down the criminals” from their rampant misconduct and perjury.

      16.      On or around November 16, 2017, the Cook County State’s Attorney

Office (CCSAO) successfully moved to vacate the convictions of 15 individuals

framed by the Watts outfit.

      17.      In light of that decision by the CCSAO, and recognizing the scope of

misconduct that the City let go on for more than a decade unabated, many of the

Watts crew were placed on desk duty.

      18.      Since then, the CCSAO has successfully moved to vacate many more

convictions.

      19.      In recognition of the scope of their misconduct, the CSSAO will no

longer call many of Watts’s team – including at least some of the Defendants in this

case – as witnesses “due to concerns about [their] credibility and alleged

involvement in the misconduct of Sergeant Watts.”

      20.      Through this lawsuit, Mr. Giles seeks accountability and compensation

for being deprived of his liberty as a result of Defendants’ misconduct.

                               Jurisdiction and Venue

      21.      This action is brought pursuant to 42 U.S.C. § 1983 to redress the

deprivation under color of law of Plaintiff’s rights as secured by the Constitution of

the United States.

      22.      This Court has jurisdiction over federal claims pursuant to 28 U.S.C.

§ 1331 and state law claims pursuant to 28 U.S.C. § 1367.

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       23.    Venue is proper under 28 U.S.C. § 1391(b). Plaintiff resides in this

judicial district and Defendant City of Chicago is a municipal corporation located

here. Additionally, the events giving rise to the claims asserted herein occurred

within this judicial district.

                                     The Parties

       24.    Mr. Giles is 57 years old. He currently resides in Chicago, Illinois.

       25.    At all times relevant to this complaint, Defendants Ronald Watts,

Kallatt Mohammed, Alvin Jones, Brian Bolton, Kenneth Young, Darrel Edwards,

Matthew Cadman, Michael Spaargaren, George Summers, Calvin Ridgell, and other

as-yet-unidentified officers of the Chicago Police Department were police officers

employed by the City of Chicago and acting within the scope of their employment

and under the color of law. Collectively, these individual Defendants are referred to

as Defendant Officers.

       26.    At all relevant times, Defendant Watts was a leader of the Second

District Tactical Team that worked the Ida B. Wells housing complex.

       27.    Defendants Kallatt Mohammed, Alvin Jones, Brian Bolton, Kenneth

Young, Darrel Edwards, Matthew Cadman, Michael Spaargaren, George Summers,

Calvin Ridgell, and other as-yet-unidentified officers of the Chicago Police

Department worked on Watts’s tactical team.

       28.    At all relevant times, Defendant Terry Hillard was the Superintendent

of the Chicago Police Department.



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      29.    At all relevant times, Defendant Debra Kirby and Karen Rowan were

Assistant Deputy Superintendents of the Chicago Police Department, acting as the

heads of its Internal Affairs Division (IAD). Collectively, Defendant Kirby,

Defendant Hillard, Defendant Rowan, and other as-yet-unidentified officers of the

Chicago Police Department are referred to as Defendant Supervisory Officers.

      30.    Defendant City of Chicago is a municipal corporation under the laws of

the State of Illinois. The City operates the Chicago Police Department (CPD) and is

responsible for the policies, practices, and customs of the City and the CPD.

                                Factual Background

      31.    During the 2000s, Mr. Giles visited the Chicago Housing Authority’s

Ida B. Wells housing complex.

      32.    During the times complained of, the Ida B. Wells complex was actively

patrolled by a tactical team of CPD officers, led by Defendant Watts.

      33.    Watts and his tactical team members were well known to the residents

of the Ida B. Wells area.

      34.    Mr. Giles was aware that Defendant Watts and the officers working

under him had a reputation as corrupt police officers.

      35.    Watts and his tactical team members maintained a visible presence in

the Ida B. Wells area. The Watts team had a reputation in the community for

harassing, intimidating, and fabricating criminal charges against the area’s

residents and visitors.

      36.    The Watts team’s pattern of harassment continued with Mr. Giles.

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                    Mr. Giles is Framed on January 4, 2003

          37.   On January 4, 2003, Mr. Giles was on his way to visit a girlfriend at

the Ida B. Wells complex.

          38.   Mr. Giles did not have drugs or anything illegal on him.

          39.   As Mr. Giles entered his girlfriend’s apartment building, he

encountered Defendant Watts and other officers.

          40.   Mr. Giles was stopped by one of the officers, detained, and searched.

          41.   Mr. Giles was searched without probable cause. The search revealed

that Mr. Giles did not have any drugs or any other illegal items, yet he was

handcuffed and placed on his knees.

          42.   Defendant Watts approached Mr. Giles and asked if Mr. Giles could

get him guns.

          43.   Mr. Giles told Defendant Watts he could not get him any guns.

          44.   Defendant Watts and another officer then went upstairs in the

building.

          45.   Defendant Watts came back into the lobby with what appeared to be

drugs in his hands.

          46.   Defendant Watts announced, “Lock them all up” or words to that

effect.

          47.   Mr. Giles was transported to the police station, along with the other

detainees.

          48.   Mr. Giles was charged with a drug crime.

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                Mr. Giles is Prosecuted, Convicted, and Sentenced

         49.   The Defendant Officers prepared false and fabricated police reports

related to this arrest.

         50.   On the basis of the false report, Mr. Giles was prosecuted for a drug

crime.

         51.   At no point in the criminal proceedings did the Defendant Officers ever

disclose that they had falsified evidence.

         52.   Mr. Giles was appointed a public defender to represent him for the

case.

         53.   Defendant Officers never disclosed to the prosecutors any of their

misconduct described herein. If the prosecutors had known that Defendant Officers

fabricated evidence and committed the other misconduct described herein, they

would not have pursued the prosecution of Mr. Giles, and his unlawful deprivation

of liberty would not have been continued.

         54.   Given that the entirety of the State’s case against Mr. Giles rested on

Defendant Officers’ fabrication of evidence and the credibility of Defendant Officers,

the exculpatory evidence described in the preceding paragraphs would have been

material to Mr. Giles’s defense of his criminal charges.

         55.   Even though Mr. Giles was innocent, knowing that he risked

significant time in prison if he went to trial and lost, Mr. Giles accepted a plea deal.

         56.   Mr. Giles was sentenced to a term of incarceration.

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Defendant Watts and His Team Engaged in a Pattern of Misconduct for at
      Least a Decade, All Facilitated by the City’s Code of Silence

      57.    It was no secret within the CPD that Watts and his crew engaged in

the type of misconduct of which Mr. Giles accuses them.

      58.    Government officials, including those with the City of Chicago, knew

about Watts’s and his crew’s alleged misconduct as early as 1999.

      59.    Shortly thereafter, an FBI investigation of Watts and his crew was

underway. The FBI investigation took place with the knowledge and occasional

participation of the Chicago Police Department’s Internal Affairs Division (IAD).

      60.    Because IAD was kept abreast of the FBI investigation, during the

times complained of, City officials—including but not limited to the heads of IAD

and CPD Superintendents —were aware of credible allegations that Watts and his

team were extorting and soliciting bribes from drug dealers.

      61.    Watts used a drug dealer named “Big Shorty” to run drugs at the Ida

B. Wells complex. Big Shorty would sell the drugs, turning profits over to Watts in

exchange for Watts’s protection. Watts used drug dealers as phony informants to

obtain illegitimate search warrants. Watts also offered to let arrestees go if they

provided him with weapons.

      62.    Targets of the FBI investigation extended beyond Watts to members of

Watts’s tactical team, including some of the Officer Defendants named herein.

      63.    During the times complained of, the FBI investigation generated

evidence showing that Watts engaged in systematic extortion, theft, the possession


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and distribution of drugs for money, planting drugs on subjects, and paying

informants with drugs.

      64.    Investigators also determined that Watts and his subordinates had

engaged in these activities for years.

                   Watts and Mohammed are Charged with Federal Crimes

      65.    In 2012, after at least a decade of engaging in criminal misconduct,

Defendants Watts and Mohammed were caught red-handed, shaking down a person

they thought was a drug courier, but who was actually an agent for the FBI.

      66.    The U.S. government subsequently charged Watts and Mohammed

with federal crimes.

      67.    Watts and Mohammed each pled guilty to federal criminal charges and

both were sentenced to terms of imprisonment. See United States v. Watts, No. 12-

CR-87-1 (N.D. Ill.); United States v. Mohammed, No. 12-CR-87-2 (N.D. Ill.).

      68.    In its sentencing memorandum in the criminal case against Watts, the

government explained that “[f]or years… the defendant [Watts] used his badge and

his position as a sergeant with the Chicago Police Department to shield his own

criminal activity from law enforcement scrutiny.” His crimes included “stealing

drug money and extorting protection payments” from the individuals he was sworn

to protect and serve.

      69.    The government revealed that, for years, Defendants Watts and

Mohammed extorted tens of thousands of dollars in bribes from individuals at the



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Ida B. Wells public housing complex on numerous occasions as part of their duties

with the CPD.

      70.    During the sentencing hearing, the government urged Judge Sharon

Johnson Coleman to “consider the other criminal conduct that the defendant

[Watts] engaged in throughout the course of his career as a police officer,”

specifically noting that during the federal investigation, Watts “did other things

such as putting a false case on the confidential source that was involved in our

investigation. Watts had him arrested on drug charges. And the source . . . felt he

had no chance of successfully fighting that case so he pled guilty to a crime he didn’t

commit.” The federal prosecutor wondered aloud “how many times [Watts] might

have done something similar when the government was not involved.”

      71.    Following the federal indictments of Watts and Mohammed, City

officials made efforts to downplay the magnitude of Watts’s criminal enterprise.

      72.    Notwithstanding the evidence investigators had amassed over the

years pointing to a wide, decade long criminal enterprise, CPD Superintendent

Garry McCarthy publicly stated, “There is nobody involved other than the two

officers who were arrested.” As described in more detail below, McCarthy was

wrong.

                           The City’s “Code of Silence”

      73.    While the federal government was investigating Watts and his crew, a

“code of silence” existed within the Chicago Police Department.



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      74.      Under this code, police officers are expected to conceal each other’s

misconduct, in contravention of their sworn duties, and penalties for breaking the

code of silence within the CPD are severe.

      75.      As one CPD officer has explained, “[The Chicago Police Academy told

officers] over and over again we do not break the code of silence. Blue is Blue. You

stick together. If something occurs on the street that you don’t think is proper, you

go with the flow. And after that situation, if you have an issue with that officer or

what happened, you can confront them. If you don’t feel comfortable working with

them anymore, you can go to the watch commander and request a new partner. But

you never break the code of silence.”

      76.      Pursuant to this “code of silence,” each of the Defendant Officers

concealed from Mr. Giles information that Watts and his crew members were in fact

engaged in a wide-ranging pattern of misconduct. Had this information been

disclosed to Mr. Giles, he would have used it to impeach the officers’ accounts,

which would have changed the outcome of the criminal proceedings instituted

against him.

      77.      Also, consistent with this “code of silence,” the few people who stood up

to Watts and his crew and/or attempted to report his misconduct were either

ignored or punished, while Watts and his crew continued to engage in misconduct

with impunity.




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The Careers of CPD Officers Daniel Echeverria and Shannon Spaulding
                         are Nearly Ruined

        78.    In 2006, two Chicago police officers, Daniel Echeverria and Shannon

 Spaulding, learned credible information from arrestees that Watts and his crew

 were engaged in illegal drug activity.

        79.    Officer Echeverria took the allegation seriously and reported it to a

 CPD supervisor. The supervisor made clear that he was not interested in hearing

 about the allegation, and he directed Echeverria not to document the allegations.

        80.    Echeverria and Spaulding subsequently reported the allegations about

 Watts and his crew to the FBI. Soon thereafter, Echeverria and Spaulding began

 cooperating with the FBI and actively assisting the FBI with its investigation of

 Watts and his crew.

        81.    When their cooperation became known to officers within their CPD

 chain of command, Spaulding and Echeverria were labeled “rats” within the

 Department, their lives were threatened, and they endured all manner of

 professional retaliation by members of the CPD.

        82.    Spaulding and Echeverria subsequently sued the City for the

 retaliation they suffered for blowing the whistle on Watts and his crew. On the eve

 of trial in that case, the City settled for $2 million.

          CPD Officer Michael Spaargaren’s Life is Threatened

        83.    Sometime in the mid-2000s, CPD Officer Michael Spaargaren was

 assigned to work with Watts in public housing.


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      84.     Spaargaren observed that Watts did not inventory drugs and money

that officers seized during arrests, and Spaargaren confronted Watts about the

misconduct.

      85.     In response, Watts threatened to plant a false case against Spaargaren

and made veiled threats to kill him.

      86.     A CPD lieutenant in the chain of command—James Spratte—

subsequently warned Spaargaren to keep his mouth shut or his life would be in

danger.

      87.     Fearful for his life, Spaargaren opted to take a one-and-a-half-year

leave of absence from CPD rather than continue to work under Watts.

                    Citizen Complaints Went Nowhere

      88.     Defendants Watts, Mohammed, and other members of Watts’s tactical

team had accumulated scores of citizen complaints concerning violations of citizens’

civil rights over the years. These complaints began well before the misconduct

Defendants committed against Mr. Giles, and yet, the City did nothing to stop the

misconduct.

      89.     On information and belief, complaints that the City bothered to

investigate largely boiled down to a he-said-she-said between the officer and the

citizen, and the City’s policy was to resolve those disputes in the officers’ favor— no

matter how many citizens came forward with the same type of complaint.

      90.     The Illinois Appellate Court recently criticized the City for its utter

failure to address the Watts team misconduct.

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      91.    In multiple instances, the City actually assigned Watts to investigate

complaints made against him or members of the team he supervised.

  The City Turns a Blind Eye to the Clear Pattern of Alleged Misconduct
                 that Emerged from Watts and His Crew

      92.    Despite all of the evidence that was amassed over the years of a

pattern and practice of criminal misconduct by Defendant Officers, on information

and belief, the City never undertook its own investigation of the clear pattern that

emerged.

      93.    As City officials were aware, the purpose of the FBI investigation was

to investigate and prosecute criminal activity, not to impose discipline and control of

the City’s Police Department.

      94.    Nothing about the FBI investigation relieved the City of its

fundamental responsibility to supervise, discipline, and control its officers.

      95.    Nevertheless, the City completely abdicated this responsibility,

allowing the widespread misconduct to continue undeterred throughout the FBI’s

criminal investigation of Watts and his crew.

      96.    During the FBI investigation, which spanned at least eight years, City

officials had reason to believe that Watts and his crew were committing ongoing

criminal activity on the streets—extorting drug dealers and framing citizens for

crimes they did not commit—yet, City officials took no steps to prevent these abuses

from occurring.




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      97.    Instead, the City officials let officers on Watts’s crew continue to

pursue criminal charges against citizens like Mr. Giles and continue to testify

falsely against citizens like Mr. Giles.

      98.    City officials withheld information they had about the officers’ pattern

of transgressions—information that citizens like Mr. Giles could have used to

impeach the corrupt officers and defend against the bogus criminal charges brought

against them.

                                 Exonerations

      99.    After Defendant Watts and his crew’s corruption came to light, on

September 12, 2017, a group of similarly situated innocent victims filed a

Consolidated Petition for Relief From Judgment and To Vacate Convictions

Pursuant to 735 ILCS 5/2-1401 (Consolidated Petition).

      100.   On November 16, 2017, upon the State’s motion, Judge LeRoy K.

Martin, Jr. vacated and nolle prossed all of the convictions related to the

Consolidated Petition.

      101.   In commenting on the extraordinary decision to agree to vacate all of

the convictions, head of Cook County State’s Attorney’s Office’s Conviction Integrity

Unit Mark Rotert stated that, “In these cases, we concluded, unfortunately, that

police were not being truthful and we couldn’t have confidence in the integrity of

their reports and their testimony.”

      102.   On September 24, 2018, 18 other similarly situated innocent victims

were given a semblance of justice. Upon the State’s motion, Judge LeRoy K. Martin,

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Jr. vacated 23 convictions, and the State nolle prossed all charges related to the

convictions.

      103.     Following this decision, Mr. Rotert explained that “these arrests were

purely conjured . . . . [Watts and his team] were basically arresting people and

framing them or were claiming they were involved in drug offenses that either

didn’t occur or didn’t occur the way these police officers said.”

      104.     At a press conference where she stood with the 18 exonerated men,

CCSAO elected State’s Attorney Kim Foxx stated that “[t]he system owes an

apology to the men who stand behind us.”

      105.     On November 2, 2018, 7 more victims had 8 additional convictions

voluntarily dismissed by the CCSAO.

      106.     In a Press Release, CCSAO Foxx stated that Watts’s and his team’s

“pattern of misconduct” caused her “to lose confidence in the initial arrests and the

validity of these convictions.”

      107.     Referring to the exonerees as “victims,” Ms. Foxx wished them “a path

forward in healing and justice.”

      108.     The CCSAO has since voluntarily dismissed additional convictions.

      109.     On February 24, 2020, after another mass dismissal and in reference

to the Watts scandal, Ms. Foxx stated: “I think it’s important that we acknowledge

the harm that was caused when we talk about these cases. It’s not just these men.

It’s the erosion of the trust in the justice system when we allow for those [men] to be

wrongfully convicted based on the misdeeds of corrupt law enforcement.”

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        110.   On December 15, 2020, after another mass dismissal and in reference

to the Watts scandal, Ms. Foxx further stated: “The seeds of distrust for our

criminal justice system run deeply in communities most impacted by violence

because of people in power like Sergeant Watts and his cronies who targeted and

criminally preyed on these communities, leaving these neighborhoods feeling like

their voice didn’t matter.”

        111.   Regarding the exonerations, Foxx went on to state that it is “always

the right time to do the right thing” and “never too late to deliver justice” to the

Watts-related victims.

        112.   Then again on February 19, 2021, after yet another mass dismissal –

in which Mr. Giles was exonerated – and in reference to the Watts scandal, Ms.

Foxx stated: “Vacating the convictions of these nine people today who were targeted

by former Police Sergeant Watts provides just a fraction of relief for those who spent

time in prison, away from their families, as we will never be able to give them that

time back.”

        113.   The CCSAO will no longer call certain members of Watts’s crew,

including at least some of the Defendant Officers named herein, as witnesses in any

pending or future matters due to concerns about their credibility and alleged

involvement in misconduct.

        114.   In November 2017, former Superintendent of the Chicago Police

Department, Eddie T. Johnson, placed multiple members of Watts’s crew on desk

duty.

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      115.    On March 4, 2021, Mr. Giles received a certificate of innocence for his

2003 conviction.

                                 Mr. Giles’ Damages

      116.    Because of the Defendants’ acts and omissions, Mr. Giles was subjected

to police harassment and unfair criminal proceedings.

      117.    The Defendant Officers’ misconduct and false accusations subjected

Mr. Giles to a felony conviction and wrongful imprisonment before he was finally

exonerated.

      118.    The pain and suffering caused by being wrongfully incarcerated has

been significant. Mr. Giles was deprived of the everyday pleasures of basic human

life and his freedom was taken from him. Since then, Mr. Giles has had to live with

a felony record he did not deserve.

      119.    As a result of the foregoing, Mr. Giles has suffered physical and

emotional damages proximately caused by Defendants’ wrongdoing.

                      Count I: 42 U.S.C. § 1983 – Due Process

      120.    Each paragraph of this Complaint is incorporated as if restated fully

herein.

      121.    In the manner described more fully above, Defendant Officers, while

acting as investigators, individually, jointly, and in conspiracy with each other,

deprived Plaintiff of his constitutional right to due process and a fair trial.

      122.    In the manner described more fully above, Defendant Officers

deliberately withheld exculpatory evidence from Plaintiff and from state

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prosecutors, among others, as well as knowingly fabricated false evidence, thereby

misleading and misdirecting the criminal prosecution of Plaintiff.

       123.   Likewise, in the manner described more fully above, Defendants, Terry

Hillard, Debra Kirby, Karen Rowan, and other as-yet-unidentified CPD supervisors,

had knowledge of a pattern of misconduct by Watts and his team. These Defendant

Supervisory Officers knew of a substantial risk that Watts and his team would

violate the rights of Mr. Giles and other residents and visitors of the Ida B. Wells

complex, and they deliberately chose a course of action that allowed those abuses to

continue, thereby condoning those abuses.

       124.   The constitutional injuries complained of herein were proximately

caused by the intentional misconduct of Defendant Supervisory Officers, or were

proximately caused when Defendant Supervisory Officers were deliberately,

recklessly indifferent to their subordinates’ misconduct, knowing that turning a

blind eye to that misconduct would necessarily violate Plaintiff’s constitutional

rights.

       125.   In addition, Defendant Supervisory Officers themselves concealed

exculpatory evidence from Mr. Giles — specifically information about Watts and his

team’s pattern of misconduct. In this way, Defendant Supervisory Officers violated

Mr. Giles’ due process right to a fair trial deliberately and with reckless disregard

for Mr. Giles’ rights.

       126.   Defendants’ misconduct directly resulted in the unjust criminal

conviction of Plaintiff, denying him his constitutional right to due process and a fair

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trial guaranteed by the Fourteenth Amendment. Absent this misconduct, the

prosecution of Plaintiff could not and would not have been pursued.

      127.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with reckless and deliberate indifference to the

rights of others, and in total disregard of the truth and of Mr. Giles’ clear innocence.

      128.   Defendants’ actions were taken under color of law and within the scope

of their employment.

      129.   The City of Chicago is also directly liable for the injuries described in

this Count because the City and CPD maintained official policies and customs that

were the moving force behind the violation of Plaintiff’s rights, and also because the

actions of the final policymaking officials for Defendant City of Chicago and CPD

were the moving force behind the violation of Plaintiff’s rights.

      130.   At all times relevant to the events described in this Complaint and for

a period of time prior thereto, Defendant City of Chicago maintained a system that

violated the due process rights of criminal defendants like Mr. Giles by concealing

exculpatory evidence of Chicago police officers’ patterns of misconduct.

      131.   In addition, at all times relevant to the events described in this

Complaint and for a period of time prior thereto, Defendant City of Chicago had

notice of a widespread practice by its officers and agents under which criminal

suspects, such as Mr. Giles, were routinely deprived of exculpatory evidence, were

subjected to criminal proceedings based on false evidence, and were deprived of

liberty without probable cause, such that individuals were routinely implicated in

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crimes to which they had no connection and for which there was scant evidence to

suggest that they were involved.

      132.   As a matter of both policy and practice, Defendant City directly

encourages, and is thereby the moving force behind, the very type of misconduct at

issue here by failing to adequately train, supervise, control, and discipline its police

officers, such that its failure to do so manifests deliberate indifference. Defendant

City’s practices lead police officers in the City of Chicago to believe that their

actions will never be scrutinized and, in that way, directly encourage further abuses

such as those that Mr. Giles endured.

      133.   The above-described widespread practices, which were so well settled

as to constitute the de facto policy of the City of Chicago, were allowed to exist

because municipal policymakers with authority over the same exhibited deliberate

indifference to the problem, thereby effectively ratifying it. These widespread

practices were allowed to flourish because Defendant City and the CPD declined to

implement sufficient policies or training, even though the need for such policies and

training was obvious. Defendant City and the CPD also declined to implement any

legitimate mechanism for oversight or punishment of officers, thereby leading

officers to believe that they could violate citizens’ constitutional rights with

impunity.

      134.   Furthermore, the misconduct described in this Complaint was

undertaken pursuant to the policy and practices of Defendant City in that the

constitutional violations committed against Plaintiff were committed with the

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knowledge or approval of persons with final policymaking authority for the City of

Chicago and the CPD, or were actually committed by persons with such final

policymaking authority.

      135.     Indeed, municipal policymakers have long been aware of Defendant

City’s policy and practice of failing to properly train, monitor, investigate, and

discipline misconduct by its police officers, but have failed to take action to remedy

the problem.

      136.     For example, at a City Council hearing on September 28, 1999, in

response to two high-profile unjustified police shootings, Superintendent Terry

Hillard noted the need for better in-service training on the use of force, early

detection of potential problem officers, and officer accountability for the use of force.

      137.     In June 2000, the Chairman of the Committee on Police and Fire of the

Chicago City Council submitted an official resolution recognizing that “[Chicago]

police officers who do not carry out their responsibilities in a professional manner

have ample reason to believe that they will not be held accountable, even in

instances of egregious misconduct.”

      138.     In 2001, the Justice Coalition of Greater Chicago (JCGC), a coalition of

more than a hundred community groups, confirmed the findings of that resolution,

concluding that the CPD lacked many of the basic tools necessary to identify,

monitor, punish, and prevent police misconduct. The JCGC findings were presented

to Mayor Richard Daley, Superintendent Hillard, and the Chicago Police Board.



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      139.   Despite municipal policymakers’ knowledge of the City’s failed policies

and practices to adequately train, supervise, investigate, discipline, and control its

police officers, nothing was done to remedy these problems.

      140.   As a result, the CPD has continued to respond to complaints of police

misconduct inadequately and with undue delay, and has continued to recommend

discipline in a disproportionately small number of cases.

      141.   Indeed, by its own admissions, more than 99% of the time when a

citizen complains that his or her civil rights were violated by police officers, the City

sides with the police officer and concludes that no violation occurred.

      142.   Before she was elected Mayor of the City of Chicago, then-Police Board

Chair, Lori Lightfoot made clear that “any of those officers on Watts team who

remain on the job must be quickly brought to justice through criminal prosecution

and/or disciplinary action.”

      143.   Yet, as of the filing of this complaint, the Lightfoot administration has

not taken the type of action that Ms. Lightfoot demanded before she became mayor.

      144.   Notably, Defendant Watts and his crew are not the first Chicago police

officers who were allowed to abuse citizens with impunity over a period of years

while the City turned a blind eye.

      145.   For instance, in 2001, Chicago Police Officer Joseph Miedzianowski

was convicted on federal crime charges, including racketeering and drug conspiracy.

The jury found that Miedzianowski engaged in corruption for much of his 22-year

police career, using street informants to shake down drug dealers and sell drugs.

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      146.   Miedzianowski, like Defendant Officers in this case, had accumulated

scores of complaints over the years. As the Appellate Court has stated, the

Defendant City “did nothing to slow down the criminals. Instead, it informed the

corrupt officers about the complaint and named the source.” The Defendant City

deemed such complaints unfounded or not sustained.

      147.   Likewise, in 2011, Chicago police officer Jerome Finnigan was

convicted and sentenced on federal criminal charges, including a charge of

attempting to hire someone to kill a police officer who Finnigan believed would be a

witness against him on his own corruption charges in state court.

      148.   Finnigan was part of a group of officers in Defendant City’s Special

Operations Section that carried out robberies, home invasions, unlawful searches

and seizures, and other crimes.

      149.   Finnigan and his crew engaged in their misconduct at about the same

time that Mr. Giles was targeted by Defendant Watts and his crew.

      150.   Finnigan, like Defendant Officers in this case, had accumulated scores

of citizen complaints over the years, which Defendant City routinely deemed

unfounded or not sustained.

      151.   At his sentencing hearing in 2011, Finnigan stated, “You know, my

bosses knew what I was doing out there, and it went on and on. And this wasn’t the

exception to the rule. This was the rule.”




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       152.    In the case of Klipfel v. Bentsen, No. 94-cv-6415 (N.D. Ill), a federal

jury found that, as of 1994, the CPD maintained a code of silence that facilitated

misconduct committed by Miedzianowski.

       153.    Likewise, in the case of Obrycka v. City of Chicago et al., No. 07 CV

2372 (N.D. Ill.), a jury found that, as of February 2007, “the City [of Chicago] had a

widespread custom and/or practice of failing to investigate and/or discipline its

officers and/or code of silence.”

       154.    The same constitutionally-defective oversight system in place during

the time periods at issue in the Klipfel case and in the Obrycka case was also in

place during the times complained of herein.

       155.    The same code of silence in place at the CPD during the time periods

at issue in the Klipfel case and in the Obrycka case was also in place during the

times complained of herein.

       156.    Indeed, the problems found to exist by the jury in Klipfel and Obrycka

continue to this day. In December 2015, Mayor Rahm Emanuel acknowledged that

a “code of silence” exists within the Chicago Police Department that encourages

cover-ups of police misconduct, and that the City’s attempts to deal with police

abuse and corruption have never been adequate.

       157.    The policies, practices, and customs set forth above were the moving

force behind the constitutional violations in this case and directly and proximately

caused Plaintiff to suffer the grievous and permanent injuries and damages set

forth above.

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      158.   Defendant City’s investigation of complaints is characterized by

unreasonably long delays, despite the relatively straightforward nature of many

misconduct claims.

      159.   Although Defendant City has long been aware that its supervision,

training, and discipline of police officers is entirely inadequate, Defendant City has

not enacted any substantive measures to address that deficiency.

      160.   Instead, Defendant City continues to inadequately investigate citizen

complaints and fail to take action against officers when necessary. It has also failed

to modify its officer training programs to reduce misconduct against Chicago

residents or to implement a system to identify and track repeat offenders, districts,

or units.

      161.   Plaintiff’s injuries were caused by CPD officers, agents, and employees

of Defendant City of Chicago, including, but not limited to, the individually named

Defendants, who acted pursuant to the policies, practices, and customs set forth

above in engaging in the misconduct described in this Count.

          Count II: 42 USC 1983 – Malicious Prosecution and Unlawful
           Pretrial Detention – Fourth and Fourteenth Amendments

      162.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

      163.   In the manner described more fully above, Defendants, while acting as

investigators, individually, jointly, and in conspiracy with each other, accused

Plaintiff of criminal activity and exerted influence to initiate, continue, and


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perpetuate judicial proceedings against Plaintiff without any probable cause for

doing so and in spite of the fact that they knew Plaintiff was innocent.

      164.   In doing so, Defendants caused Plaintiff to be unreasonably seized

without probable cause and deprived of their liberty, in violation of Plaintiff’s rights

secured by the Fourth and Fourteenth Amendments.

      165.   The false judicial proceedings against Plaintiff were instituted and

continued maliciously, resulting in injuries.

      166.   Defendants deprived Plaintiff of fair state criminal proceedings,

including the chance to defend himself during those proceedings, resulting in a

deprivation of liberty.

      167.   In addition, Defendants subject Plaintiff to arbitrary governmental

action that shocks the conscience in that Plaintiff was deliberately and intentionally

framed for crimes of which he was totally innocent. This was accomplished through

Defendants’ fabrication and suppression of evidence.

      168.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with reckless and deliberate indifference to the

rights of others, and with total disregard of the truth and of Plaintiff’s clear

innocence.

      169.   The Defendants’ actions were taken under color of law and within the

scope of their employment.

      170.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, emotional

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pain and suffering, and other grievous and continuing injuries and damages as set

forth above.

         171.   Defendants’ misconduct described in this Count was undertaken

pursuant to the policies, practices, and customs of Defendant City of Chicago, and

by Defendants who were final policymakers for the Defendant City of Chicago, in

the manner described more fully above.

                  Count III: 42 U.S.C. § 1983 – Failure to Intervene

         172.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

         173.   In the manner described more fully above, during the constitutional

violations described herein, Defendants stood by without intervening to prevent the

violation of Plaintiff’s constitutional rights, even though they had the opportunity to

do so.

         174.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with reckless and deliberate indifference to the

rights of others, and with total disregard of the truth and of Plaintiff’s innocence.

         175.   The Defendants’ actions were taken under color of law and within the

scope of their employment.

         176.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

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      177.   Defendants’ misconduct described in this Count was undertaken

pursuant to the policies, practices, and customs of Defendant City of Chicago and by

Defendants who were final policymakers for Defendant City of Chicago, in the

manner described more fully above.

 Count IV: 42 U.S.C. § 1983 – Conspiracy to Deprive Constitutional Rights

      178.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

      179.   Prior to Plaintiff’s conviction, all of the Defendant Officers, acting in

concert with other co-conspirators, known and unknown, reached an agreement

among themselves to frame Plaintiff for a crime he did not commit and thereby to

deprive him of his constitutional rights, all as described above.

      180.   In so doing, these co-conspirators conspired to accomplish an unlawful

purpose by an unlawful means. In addition, these co-conspirators agreed among

themselves to protect one another from liability by depriving Plaintiff of his rights.

      181.   In furtherance of their conspiracy, each of these co-conspirators

committed overt acts and were otherwise willful participants in joint activity.

      182.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with reckless and deliberate indifference to the

rights of others, and with total disregard of the truth and of Plaintiff’s innocence.

      183.   The Defendants’ actions were taken under color of law and within the

scope of their employment.



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      184.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

      185.   Defendants’ misconduct described in this Count was undertaken

pursuant to the policies, practices, and customs of Defendant City of Chicago and by

Defendants who were final policymakers for Defendant City of Chicago, in the

manner described more fully above.

                 Count V: Illinois Law – Malicious Prosecution

      186.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

      187.   In the manner described more fully above, Defendants accused

Plaintiff of criminal activity and exerted influence to initiate, continue, and

perpetuate judicial proceedings against Plaintiff without any probable cause for

doing so.

      188.   In so doing, these Defendants caused Plaintiff to be subjected

improperly to judicial proceedings for which there was no probable cause. These

judicial proceedings were instituted and continued maliciously, resulting in injury.

      189.   The Defendants’ actions were taken under color of law and within the

scope of their employment.

      190.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

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and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

    Count VI: Illinois Law – Intentional Infliction of Emotional Distress

      191.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

      192.   The actions, omissions, and conduct of Defendant Officers, as set forth

above, were extreme and outrageous. These actions were rooted in an abuse of

power and authority and were undertaken with the intent to cause, or were in

reckless disregard of the probability that their conduct would cause, severe

emotional distress to Plaintiff, as is more fully alleged above.

      193.   The Defendants’ actions were taken under color of law and within the

scope of their employment.

      194.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

                   Count VII: Illinois Law – Civil Conspiracy

      195.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

      196.   As described more fully in the preceding paragraphs, Defendants,

acting in concert with other co-conspirators, known and unknown, reached an

agreement among themselves to frame Plaintiff for a crime he did not commit and

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conspired by concerted action to accomplish an unlawful purpose by an unlawful

means. In addition, these co-conspirators agreed among themselves to protect one

another from liability for depriving Plaintiff of his rights.

      197.   In furtherance of their conspiracy, each of these co-conspirators

committed overt acts and were otherwise willful participants in joint activity.

      198.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with reckless and deliberate indifference to the

rights of others, and with total disregard of the truth and of Plaintiff’s innocence.

      199.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

                   Count VIII: Illinois Law – Respondeat Superior

      200.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

      201.   While committing the acts alleged in the preceding paragraphs,

Defendant Officers were employees, members, and agents of the City of Chicago,

acting at all relevant times within the scope of their employment.

      202.   Defendant City of Chicago is liable as principal for all torts committed

by their agents.




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                    Count IX: Illinois Law – Indemnification

      203.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

      204.   Illinois law provides that public entities are directed to pay any tort

judgment for compensatory damages for which employees are liable within the

scope of their employment.

      205.   Defendant Officers were employees, members, and agents of the City of

Chicago, acting at all relevant times within the scope of their employment in

committing the misconduct described herein.

      WHEREFORE, Plaintiff Marc Giles respectfully requests that this Court

enter a judgment in his favor and against the City of Chicago, former Chicago Police

Sergeant Ronald Watts, former Chicago Police Officer Kallatt Mohammed, Sergeant

Alvin Jones, Officer Brian Bolton, Officer Kenneth Young, Officer Darrel Edwards,

Officer Matthew Cadman, Officer Michael Spaargaren, Officer George Summers,

Officer Calvin Ridgell, Terry Hillard, Debra Kirby, Karen Rowan, and other as-yet-

unidentified officers of the Chicago Police Department, awarding compensatory

damages, attorneys’ fees and costs against each Defendant, punitive damages

against each of the individual Defendants, and any other relief this Court deems

just and appropriate.

                                  JURY DEMAND

      Plaintiff, Marc Giles, hereby demands a trial by jury pursuant to Federal

Rule of Civil Procedure 38(b) on all issues so triable.

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                                            Respectfully submitted,


                                            /s/ Scott Rauscher
                                            One of Plaintiffs’ Attorneys

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